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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,                           )
                                                )
                Plaintiff,                      )       Case No. 1:18-cv-02136-APM
                                                )
                v.                              )
                                                )
DONALD BERLIN, et al.,                          )
                                                )
                Defendants.                     )

             PLAINTIFF’S MOTION TO EXTEND DISCOVERY CUTOFF
           AND RESCHEDULE POST-DISCOVERY STATUS CONFERENCE

       Consistent with this Court’s August 26, 2021 Discovery Order [Dkt. No. 53], Plaintiff

Christopher Chandler moves to extend the discovery cutoff established by this Court’s July 15,

2022 Minute Order. The Minute Order sets July 29, 2022 as the discovery cutoff. This motion

seeks a modest extension to modify the close of discovery to August 19, 2022. Consequently,

Plaintiff also requests that the Court reschedule the post-discovery status conference to an

appropriate date on the Court’s calendar after that time.

       As a reminder, Defendant Donald Berlin’s recovery from knee surgery has necessitated a

delay in taking his deposition. To accommodate Mr. Berlin’s recovery, the parties have agreed

that Mr. Berlin will be deposed on August 15 and 16, 2022. The parties have also agreed that Mr.

Chandler will produce responsive documents and a privilege log by August 5, 2022. The parties’

agreement on these points is memorialized in their July 27, 2022 Joint Status Report [Dkt. No. 70].

       This Court has previously granted three motions to extend the discovery deadline—one

motion made by Defendants and consented to by Plaintiff [Dkt. No. 64] and two motions made

jointly by the parties [Dkt. Nos. 66 and 68]. Plaintiff reached out to Defendants’ counsel to confer

about this motion but has not heard back.




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                                         CONCLUSION

       Plaintiff respectfully moves to extend the discovery cutoff in this case until August 19,

2022, and to reschedule the post-discovery status conference to an appropriate date after that time.


 Dated: July 29, 2022                                 Respectfully Submitted,

                                                      /s/ Daniel P. Watkins
                                                      Thomas A. Clare, P.C.
                                                      Megan L. Meier
                                                      Daniel P. Watkins
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                                                      10 Prince St.,
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                               CERTIFICATE OF SERVICE

       I hereby certify that I filed this motion, accompanying memorandum of points and

authorities, and proposed order using the Court’s electronic filing system, thereby serving all

counsel of record.


Dated: July 29, 2022                               By: /s/ Daniel P. Watkins
                                                   Daniel P. Watkins




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,                          )
                                               )
                Plaintiff,                     )          Case No. 1:18-cv-02136-APM
                                               )
                v.                             )
                                               )
DONALD BERLIN, et al.,                         )
                                               )
                Defendants.                    )
                                               )

POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION TO EXTEND
      THE DISCOVERY CUTOFF AND RESCHEDULE POST-DISCOVERY
                       STATUS CONFERENCE

       This Court’s August 26, 2021 Scheduling Order permits the parties to seek an extension of

the discovery deadline under certain circumstances. Plaintiff Christopher Chandler believes he

has established the requisite good cause for the requested extension in light of the circumstances

described in his Motion. Accordingly, Plaintiff respectfully moves the Court to grant his Motion.


 Dated: July 29, 2022                                  Respectfully Submitted,

                                                       /s/ Daniel P. Watkins
                                                       Thomas A. Clare, P.C.
                                                       Megan L. Meier
                                                       Daniel P. Watkins
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,                          )
                                               )
               Plaintiff,                      )       Case No. 1:18-cv-02136-APM
                                               )
               v.                              )
                                               )
DONALD BERLIN, et al.,                         )
                                               )
               Defendants.                     )
                                               )

                                    [PROPOSED] ORDER

       Before the Court is Plaintiff’s Motion to Extend Discovery Cutoff and Reschedule Post-

Discovery Status Conference. After considering the Motion and other matters of record, the Court

concludes that the Motion should be GRANTED. Therefore, it is hereby ORDERED that:

       All discovery in this matter shall conclude by August 19, 2022; and further that

       All other provisions of the Scheduling Order, filed August 26, 2021, shall remain in effect.

       SO ORDERED this _________ day of __________, 2022.


                                                                              AMIT P. MEHTA
                                                                     United States District Judge




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